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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN


                                                   )
LELAND FOSTER,                                     )     Case No. 1:16-cv-1272-RSK
                                                   )
               Plaintiff,                          )     Magistrate Judge Ray Kent
                                                   )
CENTRAL MICHIGAN INNS, INC., a                     )
Michigan corporation for profit                    )
                                                   )
                                                   )

           STIPULATION FOR ENTRY OF CONSENT DECREE AND ORDER


       Plaintiff Leland Foster and Defendant Central Michigan Inns, Inc., by and through their

undersigned attorneys, stipulate and agree to entry of the accompanying Consent Decree and

Order, which fully adjudicates all the claims of all the parties and ends this action.

Dated: September 21, 2017

s/ Owen B. Dunn, Jr.                                    /s/ Robert J. Johnson
Owen B. Dunn, Jr., OH. Bar No. 0074743                  Robert J. Johnson (P42458)
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                                                       Attorney for Defendant



            IT IS SO ORDERED.

Dated:      September 25, 2017                           /s/RAY KENT
                                                         United States Magistrate Judge
